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                              UNITED STATES DISTRICT COURT
                                   DISTRICT OF MAINE

 ALICIA K. RICHARDS                          ) CASE NO.
 f/k/a/ ALICIA BETTS n/k/a/                  )
 ALICIA TICHY                                ) JUDGE:
                                             )
                        Plaintiff            )
                                             )
 v.                                          )
                                             ) NOTICE OF REMOVAL
 RUSHMORE LOAN MANAGEMENT                    )
 SERVICES, LLC                               )
                                             )
 and                                         )
                                             )
 SAFEGUARD PROPERTIES                        )
 MANAGEMENT SERVICES, LLC                    )
                                             )
                        Defendants           )

         Please take notice that Defendant Safeguard Properties Management Services, LLC

(“Safeguard) hereby removes the action captioned Richards v. Rushmore Loan Management

Services, LLC et al, YORSC-CV-2020 -177 (“State Case”), from the York County Superior

Court (Portland), to the United States District Court for the District of Maine, Portland Division,

pursuant to 28 U.S.C. §§ 1332, 1334, 1441, 1446 and 1452. A copy of the Complaint,

Summons served upon Safeguard, Summons served upon Rushmore Loan Management

Services, Summary Sheet, Answer and Affirmative Defenses of Safeguard Properties

Management Services, LLC and docket record are attached as Exhibits A, B, C, D, E and F

respectively.

         In support of its Notice of Removal Defendant states:

         1.     Plaintiff alleges she is a resident of Meredith, County of Belknap, State of New

Hampshire. (Exhibit A, at ¶ 2)
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       2.      Plaintiff alleges Rushmore Loan Management Services, LLC (“Rushmore”) is a

corporation organized and existing under the laws of the state of Delaware. (Exhibit A, at ¶ 2)

Plaintiff does not allege a principal place of business for Rushmore.

       3.      Safeguard, the second defendant in this matter is a corporation organized and

existing under the laws of the state of Delaware with its principal place of business in Ohio.

       4.      On September 8, 2020 Plaintiff served a copy of the Complaint and Summons in

the State Case on Safeguard’s registered agent for service in Maine. See Exhibit B.

       5.      Plaintiff has alleged that Safeguard violated the Federal Fair Debt Collection

Practices Act, 15 U.S.C. § 1692c(a)(2) in a number of ways and that its actions “conduct the

natura consequence of which is to harass, oppress or abuse the Borrower in connection with the

collection of a debt” and are in violation of 15 U.S.C. § 1692c(a)(2). (Exhibit A, at ¶ ¶ 53 to 63).

       6.      Plaintiff has also alleged that Safeguard owed a duty to her, “to avoid actions in the

Foreclosure Action which violated State and Federal law where the likely result from such action

was to cause Tichy to incur additional legal fees with respect to the Foreclosure Action and severe

and emotional distress.” (Exhibit A, at ¶ 70).

       7.       Safeguard denies all material allegations and denies it is a debt collector as

defined by the Federal Fair Debt Collection Practices Act.

       8.      Without specifying an amount, Plaintiff seeks compensatory and exemplary

damages from Defendants, statutory damages of $15,000, as well as payment of attorney fees,

and it seems reasonable to conclude that the amount in controversy exceeds $75,000, exclusive

of interest and costs. (Exhibit A ¶ 67, 68, 73 and ad damnum clause)

       9.      Therefore, this Court has jurisdiction because certain claims of the Plaintiff are

premised on the application of a federal statute. 28 U.S.C § 1331




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       10.     This Court also has jurisdiction over this action pursuant to 28 U.S.C. § 1332 as it

involves citizens of different states and the amount in controversy appears to exceed $75,000.

       11.     The York County Superior Court is located within the jurisdiction of the United

States District Court for the District of Maine, Portland Division.

       12.     Removal of this action is proper under 28 U.S.C. § 1441 as this Court has original

jurisdiction over this action pursuant to 28 U.S.C. § 1331 because there is a federal question, and

1332(a), as this action is a civil action between citizens of different states in which the amount in

controversy exceeds $75,000, exclusive of interest and costs.

       13.     This Notice is filed within thirty days after commencement of this action.

Therefore, this Notice of Removal is timely pursuant to 28 U.S.C. § 1446(b).

       14.     At the time of filing, counsel for Safeguard does not know if Rushmore has been

served with a copy of the State Court Complaint, never mind whether it consents to removal.

       15.     Safeguard will promptly file a copy of this Notice of Removal with the Clerk of

the York County Superior Court, and will serve copies of the same on Plaintiff.

       Based on the foregoing, Safeguard removes this action from the York County Superior

Court to this Honorable Court.

       Dated at Portland, Maine this 30th day of September, 2020.



                                              /s/ John F. Lambert, Jr.
                                              ____________________________________
                                              John F. Lambert, Jr., Bar No. 2406
                                              Counsel for Safeguard Properties
                                              Management, LLC
Lambert Coffin
P.O. Box 15215
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                                 CERTIFICATE OF SERVICE

       This is to certify that I have this day served counsel for the Plaintiff with a true and correct

copy of the within and foregoing Notice of Removal both by electronic mail and by placing a copy

of same in the United States Mail with adequate First Class postage affixed thereon, addressed as

follows:

John D. Clifford, IV, Esq.
Clifford & Golden
P.O. Box 368
Lisbon Falls, ME 04252



                                               /s/ John F. Lambert, Jr.
                                               ____________________________________
                                               John F. Lambert, Jr., Bar No. 2406
                                               Lambert Coffin
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